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 6   Attorney for Defendant
     ZOYA BELOV
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       )       No. 08-CR-427-MCE
                                                     )
                                                     )       STIPULATION AND ORDER
12          Plaintiff,                               )       CONTINUING SENTENCING
13                                                   )
     v.                                              )
14                                                   )       Date: April 24, 2014
     ZOYA BELOV.                                     )       Time: 9:00am.
15                                                   )       Judge: Honorable Morrison C. England
                                                     )
16
            Defendant.                               )
                                                     )
17                                                   )
                                                     )
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19          IT IS HEREBY STIPULATED by and between the parties hereto through their

20   respective counsel, Phil Ferrari, Assistant United States Attorney, attorney for Plaintiff and Kyle

21   Knapp, attorney for Defendant, ZOYA BELOV, that the current hearing date of March 14, 2014

22   be vacated and the matter be re-set for April 24, 2014 at 9:00 am. Good cause for the

23   continuance is due to the need to address the probation impacts of her cooperation in this matter

24   and to afford counsel time to provide materials to probation so they can finalize the report.

25   Dated: March 4, 2014                                            Respectfully submitted.
26
                                                                      /s/ Kyle R. Knapp
27                                                                  Kyle R. Knapp
                                                                    Attorney for Defendant, Zoya Belov
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     Dated: March 4, 2014                                       Respectfully submitted.
 1

 2                                                                /s/ Phil Ferrari
                                                                Phil Ferrari
 3                                                              Assistant U.S. Attorney
                                                                Attorney for Plaintiff
 4

 5                                               ORDER

 6          GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties, the March
 7
     14, 2014 hearing is vacated and the matter is re-set for judgment and sentencing on April 24,
 8
     2014 at 9:00am.
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            IT IS SO ORDERED.

11   Dated: March 7, 2014
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